           Case 22-33553 Document 574 Filed in TXSB on 01/24/24 Page 1 of 2
                                                                                        United States Bankruptcy Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                               January 24, 2024
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

In re:                                               §                                      Chapter 11
                                                     §
ALEXANDER E. JONES,                                  §                             Case No. 22-33553
                                                     §
           Debtor.                                   §
                                                     §
                                                     §

                        ORDER IN SUPPORT OF DEBTOR’S
            APPLICATION TO EMPLOY BROKER TO ASSIST IN THE SALE OF
                      5240 MCCORMICK MOUNTAIN DRIVE

           ON THIS DATE, this Court considered Debtor’s Application to Employ Broker to Assist

in the Sale of 5240 McCormick Mountain Drive (the “Application”) filed by the above-captioned

debtor and debtor-in-possession (the “Debtor”) for the entry of an order (the “Order”) authorizing

Debtor to retain and employ Keller Williams Realty as its real estate broker, pursuant to Sections

105(a), 327, and 1107 of Title 11 of the United States Code (the “Bankruptcy Code”), Rule 2014

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the

Local Bankruptcy Rules for the Southern District of Texas (the “Local Rules”). Upon review of

the Application and the Declaration of Jaymes Willoughby (the Willoughby Declaration”), the

Court finds that is has jurisdiction to grant the relief requested in the Application pursuant to 28

U.S.C. §§ 1334 and 157(b)(2).

           The Court further finds that due and adequate notice of the Application was served via the

court’s electronic transmission facilities and United States First Class Mail upon all necessary

parties.

            The Court further finds that Keller Williams Realty does not represent or hold any interest

 adverse to the Debtor or to the estate with respect to the matter on which it is to be employed in


ORDER IN SUPPORT OF DEBTOR’S APPLICATION TO EMPLOY BROKER TO ASSIST IN THE
SALE OF 5240 MCCORMICK MOUNTAIN DRIVE – PAGE 1
         Case 22-33553 Document 574 Filed in TXSB on 01/24/24 Page 2 of 2




this Chapter 11 Case pursuant to 11 U.S.C. § 327(e).

         IT IS THEREFORE,

         ORDERED that the Application is hereby GRANTED; and it is further

         ORDERED that the Debtor is authorized to employ and retain Keller Williams Realty

as real estate broker; it is further

         ORDERED that Keller Williams Realty shall be compensated in accordance with

procedures set forth in the Application and such procedures as may be fixed by order of this

Court.


Dated: __________________________, 2023
           August24,
           January 02,2024
                       2019
                                                ______________________________________
                                                UNITED STATES BANKRUPTCY JUDGE




ORDER IN SUPPORT OF DEBTOR’S APPLICATION TO EMPLOY BROKER TO ASSIST IN THE
SALE OF 5240 MCCORMICK MOUNTAIN DRIVE – PAGE 2
